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 1                  UNITED     STATES DISTRICT COURT
                   EASTERN     DISTRICT OF LOUISIANA
 2

 3       KENNETH      NASSET
                                               CASE NO. 18-9253
 4       VERSUS                                SECT. A(1)
                                               JUDGE ZAINEY
 5                                             MAG. VAN MEERVELD

 6       UNITED     STATES     OF   AMERICA

 7
              ZOOM DEPOSITION OF KENNETH W. NASSET,
 8       50390 HIGHWAY 1065, TICKFAW, LOUISIANA,
         70466, TAKEN ON THURSDAY, THE 13TH DAY OF
 9       AUGUST, 2020.

10       APPEARANCES:

11       APPEARING BY ZOOM
           THE VASQUEZ LAW OFFICE
12         ATTORNEYS AT LAW
           BY:  JESSICA M. VASQUEZ, ESQUIRE
13         400 POYDRAS STREET, SUITE 900
           NEW ORLEANS, LOUISIANA  70130
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                 ATTORNEYS       FOR PLAINTIFF
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         APPEARING BY ZOOM
16         UNITED STATES ATTORNEY'S OFFICE
           ATTORNEYS AT LAW
17         BY:  MARY KATHERINE KAUFMAN, ESQUIRE
           650 POYDRAS STREET, SUITE 1600
18         NEW ORLEANS, LOUISIANA  70130

19               ATTORNEYS       FOR THE      UNITED STATES OF
                 AMERICA
20
         REPORTED      BY:
21
         APPEARING BY ZOOM
22         DAWN D. TUPPER, CCR, RPR
           CERTIFIED COURT REPORTER
23         REGISTERED PROFESSIONAL REPORTER

24

25

                               Dawn D. Tupper, CCR, RPR
                                    (504) 430-0491
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 1       correct?

 2                   A.          Yes,       I    did.

 3                   Q.          You       said that Dr.               McGrath told

 4       you    to    return          to    him       in three months;

 5       correct?

 6                   A.          Correct.

 7                   Q.          And       Nurse Godfrey instructed

 8       you    that       if    you       did not hear anything in

 9       about       one    weak,          to send her            a    secure

10       message       and       she       would check for you;

11       correct?

12                   A.          Yeah.           I    believe so,         yes.

13                   Q.          And       you did not            send a      secure

14       message       requesting a                   follow-up

15       appointment;             correct?

16                   A.          Not       that I       remember,         no.

17                   Q.          Why       not?

18                   A.          Life       happens.          I       don't   always

19       remember.              The    VA       is    the one that handles

20       your    appointments.                       You call them.             You

21       contact.           They       make it          up.       You only call

22       the    VA    if    you're          having an         emergency or

23       something          you       need to          be   seen for.

24                               You       don't       call them and            just

25       request       appointments out of                        the blue.

                                   Dawn D. Tupper, CCR, RPR
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 1                    Q.         And       what did she say?

 2                    A.         I    believe she       said she would

 3       get    with       Dr.       McGrath and then get back to

 4       me.

 5                    Q.         Did       she get back to        you?

 6                    A.         Yes.        And told me        that Dr.

 7       McGrath       said          to    go ahead and take the

 8       Humira       --    or       the Enbrel.        Excuse me.

 9                    Q.         And       when did she get        back to

10       you    and    tell          you to       take the Enbrel?

11                    A.         I    don't       specifically remember,

12       but    I   think        it       was later that same day.

13                    Q.         Okay.        Did    you ask     Nurse

14       Godfrey       about          the    side effects of Enbrel

15       on    October       19,          2016?

16                    A.         No.

17                    Q.         Did       you begin taking        the

18       Enbrel       that       day?

19                    A.         I    believe it       was the     next day.

20                    Q.         Prior       to    taking Enbrel,        did

21       you    read       the       box?

22                    A.         No.

23                    Q.         Did       you read the packet insert

24       on    Enbrel?

25                    A.         No.

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